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                UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF MASSACHUSETTS
                           BOSTON DIVISION

                                              )
STUDENTS FOR FAIR ADMISSIONS, INC.,           )
                            Plaintiff,        )
                                              )
                    v.                        )   1:14-cv-14176-ADB
PRESIDENT AND FELLOWS OF HARVARD              )
COLLEGE (HARVARD CORPORATION),                )
                                              )
                            Defendant.        )



    AMICI CURIAE HARVARD STUDENT AND ALUMNI ORGANIZATIONS’
       PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
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I.       INTRODUCTION1

         Amici Organizations2 are 25 Harvard student and alumni organizations—which represent

thousands of Asian American, Black, Latinx,3 Native American, and white students and alumni—

that contribute to, and benefit from, the educational benefits of diversity as a direct result of

Harvard’s limited consideration of race in its holistic admissions process. Thus, Amici

Organizations are gravely concerned with SFFA’s broader aim in this lawsuit: the wholesale

elimination of race-conscious admissions in higher education, which would dismantle efforts to

further diversity and educational opportunity in a society with significant racial inequities in

primary and secondary education. No Asian American applicants, students, or alumni testified at

trial in support of SFFA’s claims or its goals. Instead, Harvard students and alumni who are

members of the Amici Organizations, including Asian Americans, testified in support of Harvard’s

race-conscious admissions based on their own experiences with race, diversity, and education

before, during, and after attending Harvard.

         Amici Organizations support students and alumni of color, who are part of the Harvard

community but may face racial isolation, false stereotypes, and racial harassment. Moreover,



         1
            Local counsel for Amici Curiae in this action, the law firm of Sugarman Rogers Barshak & Cohen, P.C.
also represents the defendant, President and Fellows of Harvard College (“Harvard”), in matters wholly unrelated to
the legal and factual issues presented by this action. Neither Harvard nor its litigation counsel in this action have
provided any financial support for the preparation of Amici Curiae’s briefs or other court filings in whole or in part.
          2
            Amici Organizations include 21 Colorful Crimson, Association of Black Harvard Women, Coalition for a
Diverse Harvard, First Generation Harvard Alumni, Fuerza Latina of Harvard, Harvard Asian American Alumni
Alliance, Harvard Asian American Brotherhood, Harvard Black Alumni Society, Harvard Islamic Society, Harvard
Japan Society, Harvard Korean Association, Harvard Latino Alumni Alliance, Harvard Minority Association of Pre-
Medical Students, Harvard Phillips Brooks House Association, Harvard South Asian Association, Harvard
University Muslim Alumni, Harvard Vietnamese Association, Harvard-Radcliffe Asian American Association,
Harvard-Radcliffe Asian American Women’s Association, Harvard-Radcliffe Black Students Association, Harvard-
Radcliffe Chinese Students Association, Kuumba Singers of Harvard College, Native American Alumni of Harvard
University, Native Americans at Harvard College, and Task Force on Asian and Pacific American Studies at
Harvard College. A description of Amici Organizations can be found in the Motion to Participate as Amici Curiae,
ECF No. 455, and in the Motion of Additional Harvard Student and Alumni Organizations to Participate as Amici
Curiae, ECF No. 503.
          3
            The gender-neutral term “Latinx” is used herein to refer collectively to Latinos, Latinas, and non-binary
persons of Latin American background.

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Amici Organizations serve as the engines of cross-racial discourse for the benefit of all Harvard

students, as well as Harvard’s faculty and administration. This discourse takes many forms: formal

events with experts speaking on myriad race-related issues; social gatherings that bring together

students from diverse racial and ethnic backgrounds to engage in spontaneous, organic dialogue;

and activism or organizing that raises public awareness on race-related incidents and concerns for

which Amici Organizations seek to hold the Harvard administration accountable. Yet, SFFA asks

the Court to endorse a Harvard undergraduate student body with more than a thousand fewer Black

and Latinx students, thus undercutting the contributions of Black, Latinx, and other students of

color to campus life and the educational experience of all students at Harvard. Amici Organizations

make the educational benefits of diversity a reality at Harvard, but their sustainability depends on

having sufficient student and alumni members to carry out their missions and execute their work.

       Harvard has both considered and implemented many race-neutral alternatives in its

admissions process, but those alternatives, standing alone, will not produce the educational

benefits of diversity. Moreover, the race-neutral alternatives proposed by SFFA fail to achieve

Harvard’s stated educational goals of creating a sufficiently diverse student body while also

maintaining its preferred academic standards. On the contrary, SFFA’s proposed alternatives

would significantly diminish racial diversity at Harvard—causing the greatest detriment to Black

applicants and students, whose admission numbers would drop more than any other racial group.

       SFFA essentially argues in favor of race-neutral alternatives that would harm some of the

very students who are most disadvantaged by the pervasive racial disparities in our nation’s

primary and secondary school systems. Due to these inequities, applicants’ opportunities to amass

the credentials for a competitive college application are greatly affected by race. The loss of up to

fifty percent of the Black and Latinx student body, as predicted by Harvard’s expert, would be



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devastating to Harvard’s Black and Latinx communities, risking the functioning—and perhaps the

very existence—of many Amici Organizations and threatening the educational benefits of diversity

for all of Harvard’s students.

       Accordingly, Harvard’s race-conscious admissions policy is lawful under Supreme Court

precedent and should be allowed to continue to foster the crucially important educational benefits

of diversity for the entire Harvard community. Given the absence of available and workable race-

neutral alternatives, this Court must reject Plaintiffs’ efforts to eliminate Harvard’s limited

consideration of race, as one of many factors, in its holistic review of student applicants.

II.    PROPOSED FINDINGS OF FACT

       A.       Harvard’s Limited Consideration of Race, as One of Many Factors in Its
                Holistic Admissions Process, Is Necessary to Reap the Educational Benefits of
                Diversity.

       1.       The educational benefits of diversity flow to Harvard students of all races, Harvard

College as an educational institution, and society as a whole. 10/30 Tr. 20:14-16, 22:24-23:20,

54:11-55:15 (Simmons). In order to ensure the educational benefits of diversity, the Harvard

student body must be comprised of a diverse set of identities, perspectives, circumstances, and

backgrounds—including, critically, diverse racial and ethnic backgrounds. P302.22; DX26.0008-

09, 13-20, 29-34; DX53.0014-19; DX55.0012, 17-20, 47-48; DX40; 11/1 Tr. 198:24-199:21

(Faust).

       2.       Harvard College’s mission recognizes that “[t]hrough a diverse living environment

where students live with people who are studying different topics, who come from different walks

of life and have evolving identities, intellectual transformation is deepened and conditions for

social transformation are created.” DX 109. Racial and ethnic diversity is a necessary component

of an educational environment that drives the intellectual and personal growth that Harvard seeks



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to cultivate in its students. P302 at 22; DX26.0008-09, 13-20, 29-34; DX53.0014-19; DX55.0012,

17-20, 47-48; DX40; 11/1 Tr. 198:24-199:21 (Faust).

       3.      Harvard’s current holistic admissions process, which considers an applicant’s race

as a positive “tip” when evaluating highly competitive applicants of any race, enables Harvard to

enroll a racially and ethnically diverse student body and thereby create a learning and living

environment that improves the education of all its students. 10/16 Tr. 29:8-30:17 (Fitzsimmons);

Defs.’ Proposed Findings of Fact and Conclusions of Law (“Harvard FOF/COL”), ECF No. 619,

¶¶ 60-61.

       4.      SFFA’s expert agreed that race has no effect for the vast majority of applicants, that

race makes a difference only for applicants who would otherwise be competitive, and that other

factors are just as consequential as race in admissions decisions. 10/25 Tr. 200:1-17, 201:12-25

(Arcidiacono). Race may, however, provide a “tip” to an individual, highly competitive applicant

of any race, including Asian Americans. See infra ¶¶ 66-67, 93-94.

       5.      Race does not guarantee admission to any student. See, e.g., 10/24 Tr. 234:6-8,

236:11-22, 237:21-238:18 (Ray) (describing Harvard’s denial of a bi-racial, white and African

American applicant, who had a perfect ACT score and a perfect SAT verbal score, but whose

alumni interview was considered “flat” and possibly “rehearsed” and “coached”).

       6.      The limited consideration of an applicant’s race helps Harvard see the full

applicant—illuminating their experiences, contextualizing their achievements, and offering a

window into their perspective and potential contributions to campus. 10/29 Tr. 202:3-203:1,

211:23-212:19 (Chen); 10/29 Tr. 90:12-91:4 (Ho); Harvard FOF/COL ¶¶ 28-31. Indeed, Harvard

recognizes that some college admissions criteria can undervalue the potential of some applicants

of color. See, e.g., SA-2 at 29; 10/29 Tr. 146:15-148:3 (Diep); infra ¶¶ 70-75.



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       7.      Race-conscious admissions are critically important to understand the full context

of a student’s accomplishments and achievements given the pervasive racial inequities in primary

and secondary education, which create barriers to educational opportunities for many students of

color, including some Asian Americans and Pacific Islanders. See infra ¶¶ 70-75.

       8.      Harvard would be unable to accomplish its educational mission without the

diversity that comes from race-conscious admissions. See 10/30 Tr. 29:7-13 (Simmons); Harvard

FOF/COL ¶¶ 2-13, 214-55. Indeed, analyses of race-neutral alternatives from both Harvard and

SFFA’s experts reinforce the conclusion that it is necessary to consider race to achieve sufficient

racial diversity while maintaining Harvard’s preferred academic standards. See infra ¶ 36-38, 45-

46.

               i. Engagement With, and Exposure to, Students of Different Racial and Ethnic
                  Backgrounds Are Critical to Achieving the Educational Benefits of Diversity.

       9.      A diverse student body “provides an opportunity to deepen . . . learning” by

“giv[ing] students first-hand experience with difference.” 10/30 Tr. 23:6-8 (Simmons). Racial

diversity in higher education helps students develop critical thinking and challenge assumptions.

10/30 Tr. 22:24-23:12 (Simmons).

       10.     Harvard students have experienced the educational benefits of diversity firsthand,

through more nuanced and rewarding classroom discussions due to the participation of racially

diverse students. See 10/29 Tr. 124:25-125:11 (Nuñez); 10/29 Tr. 209:10-13 (Chen). Harvard

students “learn from other people, and . . . learn from listening to their stories, listening to their

perspectives.” 10/29 Tr. 109:21-23 (Ho). It has been “very powerful” for Harvard junior Cecilia

Nuñez “to interact with students who don’t share [her] ethnic identity” and with whom she “can

have various conversations about what the differences are[.]” 10/29 Tr. 124:7-14 (Nuñez).

“[B]eing around students from different ethnoracial backgrounds made [recent Harvard alumna


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Itzel Libertad Vasquez-Rodriguez] a more critical thinker and a more independent thinker.” 10/29

Tr. 17:8-10 (Vasquez-Rodriguez).

       11.     Examples of these cross-racial conversations include: hearing thought-provoking

comments from a Black classmate in a public health class about how medical studies can be

skewed due to the insufficient inclusion of participants of color, 10/29 Tr. 153:2-154:15 (Diep);

and a student contributing to classroom discussions by drawing on her lived experiences as a Black

woman, 10/29 Tr. 78:25-79:13 (Cole).

       12.     By contrast, a lack of racial diversity in the classroom can be detrimental to the

learning experience of students. See 10/29 197:2-5 (Chen). For example, due to her high school’s

lack of diversity, Harvard senior Sally Chen missed out on “critical conversations that went beyond

the strict curriculum,” such as those about “current events and the issues that were facing [local]

communities . . . like gentrification and displacement that really predominantly impact

communities of color.” 10/29 Tr. 197:2-13; 18-20 (Chen). The other resources at Ms. Chen’s

school, including extensive AP offerings, a robotics team, and many other opportunities, did not

make up for this educational deficit. 10/29 Tr. 197:14-20 (Chen).

       13.     A diverse student body imparts benefits to the educational experience beyond the

classroom. “Education is not just what you learn in the classroom,” and “Harvard really

emphasizes the learning that goes on in dorms and dining halls.” 10/29 Tr. 105:23-25 (Ho). This

is especially true given that approximately 98% of Harvard undergraduates live on campus in the

college’s residential houses—an aspect of the Harvard experience that is designed to heighten the

prospect of student engagement. 10/17 Tr. 194:8-10 (Fitzsimmons); 10/30 Tr. 31:25-32:10

(Simmons).




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       14.     An important part of Harvard students’ educational experience is derived from

conversations, interactions, and friendships with roommates of different backgrounds. See 10/29

Tr. 105:19-108:25, 110:4-22 (Ho); 37:18-38:8, 40:23-41:11 (Chin), 125:12-19 (Nuñez). Catherine

Ho, a Vietnamese American Harvard sophomore, gained new perspectives about police abuse in

the Black community through discussions with her Black roommate about an incident of police

brutality against a Black Harvard student, and by personally witnessing the emotional response

and organizational responsibilities that her roommate shouldered as a member of a Black student

group in the wake of the incident. 10/29 Tr. 105:19-106:15 (Ho).

       15.     Exposure to, and engagement with, a diverse student body helps break down

stereotypes and challenge assumptions based on race. See 10/29 Tr. 40:23-41:9 (Chin); 100:5-17

(Ho). This process not only cultivates more open-minded students, but also creates an environment

more conducive to learning, where false racial stereotypes or discrimination are more likely to be

recognized and diminished. 10/29 Tr. 176:24-177:22 (Trice). For example, compared to her less

racially diverse high school, Harvard sophomore Madison Trice, a Black student, experiences

fewer racial slights at Harvard, allowing her to be more “able to really devote [her]self to

academics, extracurriculars, and friendships without having to worry as much about the feeling of

being represented or being distracted by the types of discrimination that [she] faced in high

school.” 10/29 Tr. 176:24-177:4 (Trice).

       16.     A racially diverse student body also helps Harvard students “learn[] how they can

best serve the world” and become engaged citizens and citizen-leaders of society, fulfilling part of

the College’s stated mission. DX 109. In addition, diversity in student service organizations

enhances students’ volunteer work and helps them better serve communities of color beyond

Harvard’s campus. See 10/29 Tr. 125:20-127:18 (Nuñez); 103:25-105:15 (Ho).



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       17.     Diversity at Harvard informs the long-term career goals and competencies of

students before they enter a global workforce. Madison Trice, who is pursuing a career in conflict

resolution, learned from fellow Harvard students who have been impacted by social and political

conflict in diverse parts of the world, which “helps [her] to better learn how to serve hopefully in

conflict regions and in peace building . . . .” 10/29 Tr. 190:20-191:12 (Trice). Harvard senior Thang

Diep’s interactions with racially diverse students at Harvard gave him “a tool set to think about

cultural sensitivity and cultural competency” that will inform his future work as a doctor serving

“young people who all have very different liv[ed] experiences.” 10/29 Tr. 156:1-157:5 (Diep). For

Harvard junior Cecilia Nuñez, a student pursuing a degree in Latin American studies, being in

classes that offer cultural diversity allows for conversations with people who “have a relationship

to the subject matter” and better prepares her to succeed in her field. 10/29 Tr. 124:25-125:11

(Nuñez).

       18.     The educational benefits of Harvard’s diversity have proven invaluable to recent

Harvard graduate, Itzel Libertad Vasquez-Rodriguez, who has worked for nonprofits in Peru and

on state policy in the California Assembly, and those benefits would have been significantly

diminished by a reduction in Black and Latinx students on campus. “[W]ith [her] work in Peru, it

was really important that [she] had an understanding of the diversity within the Latinx or the Latin

American experience because [she] was working with indigenous people in Peru who have a very

different history and relationship with their country.” 10/29 Tr. 23:11-15 (Vasquez-Rodriguez).

With respect to her work in California, “working in a state that is so diverse and that is only

becoming more ethnoracially diverse, it was important for [Ms. Vasquez-Rodriguez] to have had

experience and to have had interactions with people from a variety of ethnoracial backgrounds.”

10/29 Tr. 23:16-20 (Vasquez-Rodriguez).



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       19.     Beyond the workplace, students from diverse learning environments are better

prepared to navigate and lead in a pluralistic society plagued with conflict because of their

experiences learning in an environment with peers who are different. See 10/30 Tr. 29:14-30:11,

55:8-15 (Simmons).

               ii. A Diverse Student Body Is Necessary to Avoid Racial Isolation and Tokenism.

       20.     A racially diverse student body is necessary to craft a learning environment in

which students from underrepresented minority groups do not feel isolated or like “tokens” in the

classroom. 10/30 Tr. 33:2-21, 46:24-47:19 (Simmons).

       21.     Some students of color continue to experience social isolation and, at times,

hostility at Harvard. 10/29 Tr. 128:23-129:18 (Nuñez) (describing an instance where she and her

peers were called racial slurs on campus); 181:9-182:11 (Trice) (describing an incident of police

brutality against a Black student near campus).

       22.     As some Amici witnesses testified, being one of only a few Black students can be

an isolating experience. See 10/29 Tr. 67:20-68:20 (Cole); 115:4-116:2 (Nuñez); 168:7-21 (Trice).

As one of a handful of Black students at their respective high schools, the Black Amici witnesses

had feelings of not belonging, pressure to be “a representative for [their] entire race,” and the

solitary burden of challenging stereotypes. 10/29 Tr. 168:7-21 (Trice); 67:20-68:20 (Cole); 115:4-

116:23 (Nuñez).

       23.     Asian American students have also been impacted by racial isolation and

insensitivity on campus, 10/29 Tr. 204:12-205:5 (Chen), and benefit from being able to respond

and cope in coalition with other students of color. See 10/29 Tr. 157:17-158:4 (Diep) (describing

shared experiences of racial prejudice and discrimination that create solidarity between Asian

American students and other students of color); 18:12-21 (Vasquez-Rodriguez) (recounting cross-

cultural efforts to establish an ethnic studies track that were led by Asian American students in
                                                  9
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coalition with students from other minority groups); 74:2-17 (Cole) (recalling cross-cultural efforts

to improve support for low-income students of color led by Asian American students in coalition

with students from other minority groups). Harvard sophomore Catherine Ho, for example,

benefits from speaking to Black and Latinx friends for affirmation when she experiences racially

insensitive incidents because they have had similar experiences. 10/29 Tr. 110:10-22 (Ho).

Harvard senior Thang Diep has “learned a lot about how to build coalition, how to collaborate with

other communities of color, and how to be aware of class differences because of efforts made by

[his] Black friends and Black students from organizations.” 10/29 Tr. 154:24-155:3 (Diep).

       24.     Considering race as part of its holistic admissions process also allows Harvard to

be mindful of diversity within racial groups since all students of color are not interchangeable and

all members of a racial group are not the same. See 10/30 Tr. 33:22-34:9 (Simmons). Thus, Harvard

students encounter a range of multidimensional identities and experiences from students within

the same racial group. See 10/29 Tr. 93:18-94:8 (Ho); 17:21-18:10 (Vasquez-Rodriguez).

       25.     Indeed, Harvard may have a smaller percentage of Latinx students than Harvard

junior Cecilia Nuñez’s predominantly Mexican American high school, but it nevertheless

“encompasses a lot of students from Central America, the Caribbean, South America. So . . . in

that way it’s a much more diverse group of students.” 10/29 Tr. 123:11-124:4 (Nuñez). Moreover,

at Harvard, Ms. Nuñez, who identifies as African American and Latina, “learned a lot more about

what it means to identify as [B]lack or what it means to identify as Latinx in talking to students

who . . . come at those identities from a very different way and who have had very different

experiences with it.” 10/29 Tr. 124:18-24 (Nuñez).

       26.     For Harvard sophomore Madison Trice, “it’s important for the broader Harvard

community to be able to interact with a number of different Black people who have very different



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experiences,” and “the diversity of [the Harvard-Radcliffe Black Students Association (“BSA”)]

does a really good job of making those things possible.” 10/29 Tr. 176:16-177:5, 179:4-18 (Trice).

And Harvard senior Sally Chen found it “really critically changing” to “meet [other] Asian

Americans who are different from [her]” and to “have an Asian American population that is also

racially and ethnically diverse as well as socioeconomically diverse to really dispel these kinds of

overarching myths [about] what it means to be Asian American.” 10/29 Tr. 209:14-210:16 (Chen).

               iii. A Diverse Student Body Encourages and Enables the Harvard Administration
                    to Better Serve Its Students.

       27.     The contributions of diversity to Harvard’s educational mission go beyond

classroom discussions and student interactions. A diverse student body encourages Harvard, as an

institution, to change for the better: spurring new areas of scholarship, sharpening faculty acumen,

and raising Harvard’s profile in different communities and around the world. 10/30 Tr. 26:13-29:6

(Simmons).

       28.     Diversity also challenges Harvard to better serve its students. Harvard could do

more to support students, especially students of color, and make the College a more inclusive

place. However, “a lot of the power and positive change at Harvard comes from student groups of

color,” whose activism and engagement often push Harvard to improve. 10/29 Tr. 21:25-22:2 (Ho).

       29.     For example, coalitions of students of color, including certain Amici Organizations,

successfully petitioned the College to establish an ethnic studies track, 10/29 Tr. 18:11-19:4

(Vasquez-Rodriguez); advocated for better institutional support for lower-income students of color

through the Diversity Report, 10/29 Tr. 73:25-74:17 (Cole); convinced Harvard to hire more

mental health clinicians of color, 10/29 Tr. 134:17-135:4 (Nuñez); lobbied for improved

interactions between Black students and Cambridge police, 10/29 Tr. 181:17-182:11 (Trice); and




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provided training to foster awareness and understanding to support gender non-conforming

students on campus, 10/29 Tr. 189:21-190:19 (Trice).

       30.     In addition, students of color and cultural organizations play a crucial role in

Harvard’s recruiting efforts by contacting prospective students, hosting admitted students, and

putting on events during Visitas, Harvard’s official admitted students’ weekend. 10/29 Tr. 173:10-

174:8, 193:10-12 (Trice), 92:1-18 (Ho), 137:23-138:9 (Nuñez), 39:22-40:6 (Chin).

               iv. Student and Alumni Organizations, Many of Which Rely on Sufficient Numbers
                   of Students of Color, Are Critical in Generating the Educational Benefits of
                   Diversity.

       31.     Harvard’s student and alumni organizations, such as the 25 Amici Organizations in

this lawsuit, drive the educational benefits of diversity by hosting events, initiating dialogue, and

educating the Harvard community about the lived experiences of Black, Latinx, Asian American,

and Native people, as well as students of other identities. See 10/29 Tr. 36:7-37:4 (Chin); 17:3-20

(Vasquez-Rodriguez); 135:11-136:5 (Nuñez); 96:2-97:23 (Ho).

       32.     For example, the Harvard-Radcliffe Asian American Women’s Association

(“AAWA”), the Harvard-Radcliffe Chinese Students Association, and the Harvard Vietnamese

Association co-hosted a workshop on anti-Black racism in the Asian American/Pacific Islander

community, for which attendance was capped after more than 600 people expressed interest. AO-

06; 10/29 Tr. 99:7-100:17 (Ho). After an incident of police brutality against a Black Harvard

student, members of the BSA and other Black student organizations coordinated a response

campaign, including advocating on behalf of the student, engaging with Harvard and the

Cambridge Police Department, and holding community events for students to reflect on and

discuss the event. 10/29 Tr. 181:11-182:11 (Trice); 155:4-15 (Diep).

       33.     Many of the events sponsored by Amici Organizations encourage cross-racial

engagement, welcoming Harvard students from different backgrounds. See AO-17, 10/29 Tr.
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96:16-97:4, 102:17-103:24 (Ho); 132:5-133:5,          136:18-25 (Nuñez); 189:8-18 (Trice).

Organizations representing different racial and ethnic groups also co-sponsor events and partner

on initiatives. See 10/29 Tr. 135:5-136:17 (Nuñez); 180:16-181:8 (Trice).

       34.     Amici Organizations have long provided academic, social, economic, and

emotional support to students of color. 10/29 Tr. 20:9-21:4 (Vasquez-Rodriguez); 34:7-15 (Chin);

73:15-24 (Cole); 94:20-95:10 (Ho). Among other services, these organizations provide their

members with mentoring, professional networking opportunities, academic advice, mental health

support, social engagement, and a safe space to express themselves and gain support. See AO-04,

AO-17, AO-28; 10/29 Tr. 178:8-25, 179:19-180:15, 183:17-184:1, 184:25-186:1 (Trice); 129:19-

24, 131:9-13, 133:21-135:4 (Nuñez); 94:19-95:13 (Ho). For some students, the presence of these

organizations makes Harvard feel like a “home,” where they feel a sense of belonging. 10/29 Tr.

173:15-23 (Trice); 92:1-18 (Ho); see also 10/29 Tr. 20:11-13 (Vasquez-Rodriguez) (“I found my

solace and relief in student groups on campus and . . . cultural groups.”); 73:15-16 (Cole)

(describing how “the [BSA] was a saving grace” in the face of racial hostility on campus); 182:12-

23, 185:17-189:7 (Trice) (describing mentoring and other support that BSA and Association of

Black Harvard Women (“ABHW”) provides for students).

       35.     These services are especially critical where Harvard’s own support systems fall

short or overlook the particular needs of students of color. See 10/29 Tr. 77:18-78:11 (Cole);

187:16-189:7 (Trice).




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         B.       Due to the Lack of Workable Race-Neutral Alternatives, a Race-Blind
                  Admissions Policy Would Decimate the Number of Black and Latinx Students,
                  Resulting in Significant Harms to All Harvard Students.4

                  i. Race-Neutral Alternatives Would Not Foster a Level of Diversity Sufficient to
                     Achieve the Educational Benefits of Diversity.

         36.      Despite studying and attempting many race-neutral alternatives, Harvard cannot

achieve a sufficient level of diversity that would allow students to reap the educational benefits of

diversity without an admissions policy that considers race, as one of many factors. The testimony

of Plaintiff’s expert, Richard Kahlenberg, did not provide any basis on which to conclude

otherwise.

         37.      First, Mr. Kahlenberg agreed that the best and most efficient way to promote racial

diversity is to consider race itself. 10/22 Tr. 82:4-10 (Kahlenberg).

         38.      Second, each of Mr. Kahlenberg’s four simulations that estimated admissions rates

based on various combinations of race-neutral alternatives showed a significant decline in the

percentage of Black students admitted to Harvard. 10/22 Tr. 33:15-47:18 (Kahlenberg).



         4
            SFFA seemingly acknowledges the extreme nature of its original request for a “permanent injunction
requiring Harvard to conduct all admissions in a manner that does not permit those engaged in the decision process
to be aware of or learn the race or ethnicity of any applicant for admission,” Compl. at 119, ECF No. 1. See, e.g.,
10/22 Tr. 71:8-72:7 (SFFA’s expert testifying that Harvard should be allowed to consider whether an applicant
overcame racial discrimination). Without a finding of liability, the issue of remedies is not ripe for consideration.
However, it is worth noting that the drastic, unworkable, and indefensible remedy proposed by SFFA reveals the
true intentions with this lawsuit: the wholesale elimination of race conscious admissions in higher education.
Indeed, not only would such an injunction fail to redress the alleged discrimination against Asian Americans, it
would have an acute, foreseeable, and racially discriminatory impact on applicants of color, whose names, zip codes,
high schools, awards, leadership roles, and community service often signal their race and whose personal statements
and recommendation letters would be rendered unintelligible were references to race redacted. See 11/2 Tr. 23:15-23
(SFFA’s lawyer admitting in closing arguments, “we know that many applicants to Harvard are writing about their
experiences facing discrimination, their identity in terms of ethnicity or race, and we heard a lot of that testimony on
the day that we had the students testify, which is evidence that that is in front of these admissions officers in many
instances”). Furthermore, such an injunction would prevent Harvard from continuing to interview applicants in
person and view applicants’ athletic, drama, music, dance, or other performances. Such an injunction may also have
a chilling effect on applicants of color, infringing their right to “define and express their identity.” See Devon W.
Carbado & Cheryl I. Harris, The New Racial Preferences, 96 CALIF. L. REV. 1139, 1162 (Oct. 2008) (discussing
how difficult it would be for college applicants who racially identify to “come up with a meaningful account of
[their] life without referencing race” and without “captur[ing] who [they] imagine[] [themselves] to be”); Obergefell
v. Hodges, 135 S. Ct. 2584, 2593 (2015) (“The Constitution promises liberty to all within its reach, a liberty that
includes certain specific rights that allow persons, within a lawful realm, to define and express their identity.”).

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Additionally, in every single simulation, the racial group that bore the largest burden of race-

neutral alternatives was Black applicants. Id. A campus with a greatly diminished Black student

population—even where numbers of students of color as a whole remain the same—cannot reap

the educational benefits of diversity. See infra ¶ 62. Thus, Mr. Kahlenberg failed to identify race-

neutral alternatives that achieve a sufficient level of diversity.

         39.    Harvard already uses numerous race-neutral practices aimed at increasing diversity

in admissions, such as substantial recruitment of prospective students of color through its

Undergraduate Minority Recruitment Program (“UMRP”), 10/24 Tr. 95:12-21, 98:15-99:12

(Banks); 211:1-4 (Ray), and the Harvard Financial Aid Initiative, started in 2004, which seeks to

recruit and support strong low-income applicants and to provide them with significant financial

aid. 11/1 Tr. 200:10-25 (Faust); 10/24 Tr. 102:10-103:1, 103:21-104:3 (Banks), 148:24-149:5

(Kim).

         40.    Despite these efforts, Black students are a relatively small portion of Harvard’s

applicant pool, averaging around 2,700 domestic applicants each year out of a total pool of more

than 40,000 applicants. P623; P634; 10/17 Tr. 194:12-14 (Fitzsimmons). A similar pattern holds

for Latinx applicants, who comprise only around 3,000 domestic applicants each year. P623; P634.

By comparison, about 2.5 times as many Asian American students and nearly four times as many

white students apply to Harvard each year. P623; P634.

         41.    Harvard has studied various other combinations of race-neutral admissions

practices, including those recommended by Mr. Kahlenberg, and concluded that none would

produce a student body that is as broadly diverse and with similar academic qualifications as the

students that Harvard admits with the limited consideration of race. See Harvard FOF/COL ¶¶ 203-

55.



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       42.     The real-life experiences of Harvard students and applicants cannot be accurately

captured by focusing solely on socioeconomic status in lieu of race in admissions. Recent Harvard

alumna Itzel Libertad Vasquez-Rodriguez described her race and ethnicity as “visibly salient,” but

her low socioeconomic class is not. 10/29 Tr. 22:5-21 (Vasquez-Rodriguez). As a result, she does

not feel judged because of her class, but does feel discrimination based on her race and ethnicity.

Id. Without considering those aspects of her identity, Harvard would be unable to understand her

full life experience. 10/29 Tr. 12:25-13:6, 13:13-17 (Vasquez-Rodriguez).

       43.     For another recent Harvard graduate, Sarah Cole, the salience of her racial identity

as a Black woman is distinct from the salience of her working-class identity. During Ms. Cole’s

childhood, her family’s financial situation fluctuated widely, but even when her family was doing

well enough to afford a vacation, they could never escape racial discrimination. 10/29 Tr. 80:20-

15 (Cole).

       44.     Other Harvard students have experienced racial discrimination in ways that were

distinct from their socioeconomic status. Harvard junior Cecilia Nuñez, who identifies as African

American and Latina, experienced racial isolation and false assumptions that she came from a low

socioeconomic background, causing some of her friends’ parents to refuse to allow their children

to stay at her house, even though both of her parents are doctors. 10/29 Tr. 114:24-117:6 (Nuñez).

Harvard sophomore Madison Trice’s family is Black and upper-middle class, but she nevertheless

experienced isolation, bullying, and teachers who underestimated her because of her race. 10/29

Tr. 168:14-21, 171:2-13, 167:1-13 (Trice); see also supra ¶ 7. Ms. Trice wrote about some of these

experiences in her Harvard application, 10/29 Tr. 170:22-172:18 (Trice), and Harvard would not

have known key aspects of her life experience if it could not consider her race.




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               ii. Removing All Considerations of Race in Harvard’s Admissions Would
                   Drastically Reduce the Number of Admitted Students of Color, Causing Harm
                   to All Harvard Students.

       45.     SFFA’s expert admits that eliminating the consideration of race would reduce the

number of Black and Latinx students on campus by roughly 1,100 students. 10/25 Tr. 131:14-

132:14, 167:11-168:4 (Arcidiacono). Likewise, according to Harvard’s expert, Dr. David Card,

the share of Black students in Harvard’s admitted class would drop from 14% to 6%, and the share

of Latinx and “Other” underrepresented minority students would drop from 14% to 9%. 10/31 Tr.

126:21-129:2 (Card).

       46.     Under Mr. Kahlenberg’s analysis of his own proposed race-neutral alternatives, the

share of admitted Black students would still drop from 14% to 10%. 10/22 Tr. 127:16-22

(Kahlenberg). That means there would be nearly one-third fewer Black students in each entering

class. In each of Mr. Kahlenberg’s simulations, the proportion of Black students at Harvard

decreased more than any other racial group. 10/22 Tr. 128:14-20 (Kahlenberg).

       47.     All of the student and alumni witnesses testified that a dramatic decline in the

number of Black and Latinx students on campus resulting from a race-blind admissions process

would prevent Harvard students from obtaining the educational benefits of diversity because there

would be fewer opportunities for meaningful interactions and dialogue with racially diverse

students. 10/29 Tr. 17:8-20, 21:10-11 (Vasquez-Rodriguez); 30:18-22 (Chin); 78:25-79:13 (Cole);

105:19-108:25 (Ho); 128:14-22 (Nuñez); 153:6-155:21 (Diep); 192:18-193:9 (Trice); 210:17-

211:8 (Chen). For example, Harvard sophomore Catherine Ho “definitely [thought her]

educational experience . . . would [be] worse off” without the “perspectives and stories” of Black

and Latinx students because, without them, “who are [she and other students] supposed to be

learning from?” 10/29 Tr. 109:21-110:3 (Ho).



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       48.      SFFA did not present evidence that counters this testimony. Neither

Mr. Kahlenberg nor any other trial witness presented evidence rebutting the fact that the decrease

of Black students—estimated by Mr. Kahlenberg himself—would detrimentally affect the social

and emotional well-being of students of color, specifically Black Harvard students, and the

educational benefits of diversity to all students. In fact, Mr. Kahlenberg declined to explore this

question; he did not speak to any Harvard students or faculty about the effect that a decrease in

Black students would have on the educational experience at Harvard. 10/22 Tr. 127:24-128:8

(Kahlenberg).

       49.      A significant decrease in racial diversity resulting from the elimination of race-

conscious admissions would greatly reduce Harvard students’ exposure to intercultural

experiences that prepare them for their future work as citizen-leaders in a global society. See supra

¶¶ 16-18.

       50.      Without race-conscious admissions, there also would be less diversity within racial

groups on campus and fewer opportunities to challenge bias and monolithic understandings of

Black and Latinx identity. See supra ¶¶ 15, 24-26.

       51.      The elimination of race-conscious admissions, and the resulting reduction in Black

and Latinx students on campus, would increase the feeling of isolation for students from

underrepresented backgrounds. 10/29 Tr. 19:5-20:8 (Vasquez-Rodriquez); 78:12-24 (Cole);

138:18-139:2 (Nuñez); see also supra ¶¶ 20-22. This harm extends to Asian American students.

See supra ¶ 23.

       52.      The level of inclusivity that currently exists at Harvard, while far from perfect, is

directly related to having a significant population of students of color on campus to collectively

insist on nondiscriminatory treatment in social interactions. 10/29 Tr. 177:6-22 (Trice). For



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example, when Harvard junior Cecilia Nuñez was in the company of significant numbers of Latinx

students on campus, she felt safe in responding to racial bigotry—a feeling she would not have

possessed if she were alone or one of only a few Latinx students. 10/29 Tr. 129:11-18 (Nuñez).

Thus, the loss of race-conscious admissions, and the resulting loss of Black and Latinx students

on campus, would significantly exacerbate the social isolation and racial hostility already

experienced by Harvard’s students of color.

       53.     The Asian American students and alumni who testified at trial seek the continuation

of race-conscious recruitment and admissions. 10/29 Tr. 48:9-11 (Chin); 112:6-8 (Ho); 157:10-

158:12 (Diep); 210:20-23 (Chen). While SFFA attempts to find support for a race-blind remedy in

a 1983 article written by Harvard alumna, Professor Margaret Chin, and 25 other students at that

time, Professor Chin herself testified that her “article was written to support race conscious

admissions” and to promote the “inclu[sion] of [Asian Americans] in the minority recruitment

process and affirmative action.” 10/29 Tr. 43:25-44:4 (Chin). By contrast, no Asian Americans

testified in support of SFFA.

               iii. A Significant Reduction of Students of Color Would Negatively Impact Minority
                    Recruitment, Resulting in an Even Greater Reduction of Students of Color.

       54.     Harvard works to attract future students of color through the UMRP and other

targeted recruitment efforts. 10/24 Tr. 95:12-21, 98:15-99:12 (Banks); 211:1-4 (Ray). During

Visitas, admitted students of color are matched with student hosts and explore the campus through

programming that targets diverse students. 10/24 Tr. 219:3-220:21 (Ray). Students of color play a

key role in recruiting other students of color. “Typically the leaders of various minority groups

and communities on campus bec[o]me [recruitment] coordinators” and host students during Visitas

to allow them to see “what it[’]s like as a student of color at Harvard.” 10/24 Tr. 97:12-18, 99:13-

24 (Banks); 10/29 Tr. 39:2-21 (Chin).


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       55.     The UMRP influenced the decisions of many of the student and alumni witnesses

to attend Harvard. 10/29 Tr. 92:8-18 (Ho) (explaining that the UMRP was helpful in providing her

with a sense of school culture and climate). Through Visitas, Harvard showcases the campus

diversity that attracts many students of color to Harvard. 10/29 Tr. 70:6-21 (Cole) (explaining that

the UMRP arranged a visit that allowed her to meet other Black students and to “feel like I could

have community here in ways that I just never imagined I could have”); 118:6-14 (Nuñez)

(explaining how interacting with student and service organizations during her visit convinced her

that Harvard “had the diverse . . . and welcoming student body that I was looking for”); 173:13-

174:8 (Trice) (describing how, during Visitas, her interactions with Black affinity groups impacted

her decision to attend Harvard).

       56.     The elimination of race-conscious admissions, and the resulting decline in Black

and Latinx students, would make Harvard less appealing to prospective students, particularly

students of color—which would, in turn, depress the number of applicants of color and further

exacerbate the decline in Harvard’s diversity. For example, while Harvard sophomore Madison

Trice enthusiastically recruits Black students to attend Harvard today, a significant reduction in

Black and Latinx students would dampen her enthusiasm because the racial climate at Harvard

could change in ways that harm students of color, as it did in her much less diverse high school.

10/29 Tr. 93:13-194:9 (Trice). In addition, without race-conscious admissions, there would be

fewer students of color on campus to support the UMRP and to host Visitas events, limiting those

recruitment efforts.

       57.     Racial diversity was a crucial factor in the Amici witnesses’ decisions to apply to,

and ultimately attend, Harvard; without this diversity they might not have made the same

decisions. See, e.g., 10/29 Tr. 172:19-174:5 (Trice) (explaining that “the critical mass that Harvard



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has of minority students was really important” in her decision to attend Harvard). Harvard junior

Cecilia Nuñez considered it immensely “important to be in a school that had a very diverse student

body” and believed that if Harvard “hadn’t felt like it was a space that would be welcoming to

people of color and it hadn’t felt like a very diverse space, it probably would have affected [her]

ultimate decision to go.” 10/29 Tr. 117:21-24, 119:16-18 (Nuñez).

        58.     The elimination of race-conscious admissions would impede Harvard’s efforts to

recruit students who seek an institution that values diversity and inclusion. Itzel Libertad Vasquez-

Rodriguez “probably would not have applied to Harvard if they didn’t take race into account.”

10/29 Tr. 16: 23-24 (Vasquez-Rodriguez). If a school did not employ race-conscious admissions,

Cecilia Nuñez “would have questioned maybe the motives of the school and if the school was

really that dedicated to diversity and to its students of color if it was failing to recognize them from

the get-go.” 10/29 Tr. 122:22-25 (Nuñez). “If Harvard adopted race-blind admissions, that would

signal to students of color,” like Sarah Cole, “that Harvard was disinterested in [them]. Race-blind

admissions is an act[ of] erasure.” 10/29 Tr. 83:22-24 (Cole). Under race-blind admissions, “there

[would be] fewer students of color applying to Harvard” and “fewer students of color accepting

the chance to go to Harvard.” 10/29 Tr. 83:17-84:13 (Cole).

                iv. A Significant Reduction in Students of Color Would Devastate Many of the
                    Amici Organizations.

        59.     The Amici Organizations create opportunities for students of all backgrounds to

engage in cross-racial exchange. 10/29 Tr. 38:9-39:1 (Chin); 96:16-103:21 (Ho); 132:24-133:5,

135:5-136:25 (Nuñez); 180:16-181:8, 189:8-16 (Trice); see also supra ¶¶ 31-33. However, without

race-conscious admissions, the subsequent reduction in the number of Black and Latinx students

would cause many organizations, including certain Amici Organizations, to suffer a decline in

their membership ranks. See 10/29 Tr. 130:2-25, 138:13-21 (Nuñez); 191:13-192:13 (Trice), 21:5-


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22:3 (Vasquez-Rodriguez). Because “there are so few students of color and under-represented

minority groups at Harvard as it is[,] . . . any sort of reduction in any of those groups would be

really detrimental to the community at Harvard, both for students of color, but also just for students

in general.” 10/29 Tr. 21:11-16 (Vasquez-Rodriguez).

       60.     Some student organizations would have to reduce the size of their leadership boards

or the programming they offer. 10/29 Tr. 191:23-192:5 (Trice) (A significant reduction in the

presence of Black students “would be a huge loss for [the BSA’s] ability to put together

programming and also for us to learn and grow together.”). If some organizations suffer a sizable

reduction in their membership, they could cease to exist or no longer have the capacity to be

effective. 10/29 Tr. 138:18-21 (Nuñez) (“[T]he idea that there could be a much smaller pool of

Latinx students . . . on campus is concern[ing]” as it calls into question whether Fuerza Latina “as

an organization [can] continue to exist.”).

       61.     Even organizations that do not lose members would be less able to provide quality

programming and experiences for their members and for the larger Harvard community due to a

reduction in Black and Latinx students on campus, who are integral to these events. 10/29 Tr.

192:9-17 (Trice) (“There are so many ways that BSA touches other communities that I think the

general community would lose out.”). For example, AAWA “does a lot of events with other

organizations of color. And obviously, if those organizations of color have fewer members . . .

that’s going to be detrimental to AAWA.” 10/29 Tr. 109:15-20, 111:2-10 (Ho).

       62.     As one of the older, more established organizations, the BSA hosts events that serve

the greater community, such as the Minority Career Fair, and inspires and paves the way for other

identity groups. See 10/29 Tr. 179:19-180:15, 192:6-17 (Trice). Indeed, other affinity groups

model their programming after the BSA and depend on the existence of this organization for



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support. 10/29 Tr. 21:17-22:2 (Vasquez-Rodriguez). A significant reduction of Black students,

therefore, would be devastating for Harvard students beyond the Black Harvard community.

       63.     Affinity groups provide needed support to students of color on Harvard’s campus.

See supra ¶¶ 34-35. Without race-conscious admissions, affinity groups would have reduced

capacity because “if you have fewer students of color on Harvard’s campus, then there’s fewer

people to do” the work of creating “support systems” for students of color, “and that work becomes

more exhausting.” 10/29 Tr. 78:6-11 (Cole).

       64.     Without race-conscious admissions, affinity groups would have reduced capacity

to advocate for institutional change and more inclusion on campus that benefits not only students

who share the same racial identity, but the larger Harvard community as well. 10/29 Tr. 22:1-2

(Vasquez-Rodriguez) (explaining that “positive change at Harvard comes from” advocacy led by

“student groups of color”); see also supra ¶ 29.

       65.     Public advocacy led by affinity groups “tend[s] to make other spaces on campus

more inclusive” and would be reduced if race-conscious admissions were to end. 10/29 Tr. 190:18-

19 (Trice). For example, BSA provided education and “improved the campus climate” for all

students in the wake of the police brutality incident. 10/29 Tr. 155:4-15 (Diep). This helped an

Asian American student, Harvard senior Thang Diep, “understand a bit better about issues

affecting a different community[]” and also understand how “the issues affecting [his] own

communit[y] are “inherently [] tied to issues affecting other communities of color.” 10/29 Tr.

155:11-21 (Diep).




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           C.    Race-Conscious Admissions Allows Harvard to Consider the Breadth of Many
                 Students’ Lived Experiences.

           66.   Race-conscious admissions allow Harvard to more fully evaluate applicants,

including Asian American applicants. For example, in order for Harvard to fully evaluate his

application, senior Thang Diep believed it was “crucial” for him to share his ethnic identity and

experiences with racial prejudice “in order to portray [his] growth authentically and really show

. . . the admission officer who [he] really [was.]” 10/29 Tr. 145:21-146:6 (Diep). Although Harvard

noted that his “SAT score [wa]s on the lower end of the Harvard average,” his compelling

discussion about his Vietnamese identity and his experiences overcoming the adversity he

encountered as an immigrant stood out to admissions officers. 10/29 Tr. 146:19-148:3 (Diep); SA-

2 at 29.

           67.   When Harvard senior Sally Chen reviewed her admissions file, she “appreciated

the ways in which [her] admissions reader saw what [she] was trying to say when [she] was talking

about the significance of growing up in a culturally Chinese home, of the kinds of work and

responsibility that [she] took on from that.” 10/29 Tr. 202:5-9 (Chen). Through holistic admissions,

Ms. Chen’s ethnic and racial background provided context to help the admissions committee

understand her achievements and provide “a more cohesive narrative of the kind of person” that

she would be “in college and beyond.” 10/29 Tr. 204:4-9 (Chen).

           68.   For some applicants, memories of discrimination or ethnic and racial pride are at

the root of what motivates them to work hard and advocate for change. 10/29 Tr. 13:13-17

(Vasquez-Rodriguez) (commenting that “[a]ll of [her] life’s ambitions revolve around

communities of color and [her] ethnoracial identity”); 170:11-171:19 (Trice) (explaining how her

experience with racial discrimination led to her interest in social justice work); 202:14-203:1,

212:13-19 (Chen) (discussing how “the kinds of cultural-linguistic[] barriers that [her] parents


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faced because of their race” shaped her personal and academic interests and her future leadership

goals). Race-blind admissions would disproportionately impact applicants of color who are more

likely to have formative experiences related to race, which Harvard must consider to fully

understand their potential contributions to the classroom and campus life.

       69.     SFFA’s requested remedy would prohibit Harvard from considering an applicant’s

experiences with race and ethnicity—and the contributions of those experiences to the Harvard

community—while, at the same time, recognizing every other manifestation of identity, such as

socioeconomic status, religion, gender, sexual orientation, or disability. This would place

applicants who racially identify (namely, applicants of color) at a significant disadvantage by not

having important aspects of their life considered in the admissions process. For recent graduate

Sarah Cole, “[t]o try to not see my race is to try to not see me simply because there is no part of

my experience, no part of my journey, no part of my life that has been untouched by my race.”

10/29 Tr. 83:24-84:2 (Cole). As a result, “it would be nearly impossible for me to try to explain

my academic journey, to try to explain my triumphs without implicating my race.” 10/29 Tr. 84:3-

5 (Cole).

       70.     Race-conscious admissions allows Harvard to fully evaluate individual applicants

in the context of the inequality that may have shaped their educational opportunities. Race

systematically impacts the opportunities and resources that applicants can access before they apply

to college, such as access to advanced course offerings, 10/29 Tr. 167:1-15 (Trice), access to

magnet schools, 10/29 Tr. 144:5-11 (Diep), standardized test preparation, 10/29 Tr. 66:13-67:5

(Cole), and the decision to apply for and attend college, 10/29 Tr. 68:22-69:17 (Cole). See also

U.S. Dep’t of Educ. Office for Civil Rights, 2013-2014 Civil Rights Data Collection: A First Look

(June 2016; Revised Oct. 2016) (“CRDC First Look”) (surveying public school districts across the



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country and concluding that Black and Latinx students have less access to advanced course work,

experienced teachers, and school counselors), https://www2.ed.gov/about/offices/list/ocr/docs/

2013-14-first-look.pdf; Nat’l Endowment for the Arts, A Decade of Arts Engagement: Findings

from the Survey of Public Participation in the Arts, 2002–2012 1, 66 (Jan. 2015) (finding that

children of Black and Latinx parents were less likely to receive music and art instruction in school),

https://www.arts.gov/sites/default/files/2012-sppa-feb2015.pdf.5

         71.      Racial and ethnic isolation in primary and secondary schools limits students’

experiences before graduating from high school and fuels the racial gap in educational

opportunities. See U.S. Dep’t of Educ., Office of Planning, Evaluation and Policy Development

and Office of the Under Secretary, Advancing Diversity and Inclusion in Higher Education at 14-

18      (2016),       https://www2.ed.gov/rschstat/research/pubs/advancing-diversity-inclusion.pdf.

Moreover, Black and Latinx students are more likely to attend schools that are under-resourced

with students who are low-income; see U.S. Comm’n on Civil Rights, Public Education Funding

Inequity in an Era of Increasing Concentration of Poverty and Resegregation 13 (Jan. 2018),

https://www.usccr.gov/pubs/2018/2018-01-10-Education-Inequity.pdf.

         72.      Standardized test scores too often reflect students’ resources and background,

which would include their racial and ethnic background, as much as their academic ability. Harvard

FOF/COL ¶ 248 (noting that SAT scores and GPAs have “limited value in identifying applicants




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           The Court may take judicial notice of government records, including agency reports. See, e.g., Barber v.
Ponte, 772 F.2d 982, 998-99 & nn.4-16 (1st Cir. 1985) (taking judicial notice of statistics from the U.S. Bureau of
the Census and reports from the Centers for Disease Control); Kader v. Sarepta Therapeutics, Inc., No. 1:14-CV-
14318-ADB, 2017 WL 72396, at *2 n.3 (D. Mass. Jan. 6, 2017) (Burroughs, J.) (taking judicial notice of an FDA
press release), aff’d, 887 F.3d 48 (1st Cir. 2018); accord Lamers Dairy Inc. v. U.S. Dep’t of Agric., 379 F.3d 466,
471 n.8 (7th Cir. 2004) (“This court may take judicial notice of reports of administrative bodies.”); CFK Sports, Inc.
v. Correa-Oppenheimer, 325 F.R.D. 30, 33 n.3 (D.P.R. 2018) (“Documents contained in the public record, including
the records and reports of administrative bodies, are proper subjects of judicial notice.” (citing Torrens v. Lockheed
Martin Servs. Grp., Inc., 396 F.3d 468, 473 (1st Cir. 2005)).

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with strong academic potential”); P316 at 18 (concluding in the report of Harvard’s Committee to

Study Race-Neutral Alternatives that standardized tests are “imperfect measures” affected by an

applicant’s background and ability to prepare); 10/29 Tr. 198:14-199:3 (Chen).

       73.     Even in wealthy, high-performing schools, students of color face racial bias that

can limit academic opportunity. Harvard sophomore Madison Trice experienced isolation and

tokenization as one of the only Black students in her private high school despite her upper-middle

class upbringing. 10/29 Tr. 168:7-21 (Trice). Moreover, as an elementary school student, Ms. Trice

was not admitted to a gifted class, despite her stellar academic performance, until her parents

intervened on her behalf—after which she was the only Black student in the gifted class. 10/29 Tr.

166:19-167:15. According to Director of Admissions Marlyn McGrath, many students of color

who apply to Harvard demonstrate “persistence, courage, [and] self-confidence” by overcoming

discrimination and racial isolation. 10/19 Tr. 255:21 (McGrath).

       74.     Through its race-conscious admissions program, Harvard considers the differences

in experiences and opportunities among applicants from different Asian American ethnic groups

as well. See 10/18 Tr. 51:20-53:1; 60:9-61:7 (Fitzsimmons); 10/24 Tr. 228:20-230:7 (Ray)

(“[G]iven that students and populations of people who identify as Asian-American are so diverse,

we wanted to really highlight the fact that there’s a lot of diversity within that population in terms

of country of origin, cultural identity, and other items as well.”); see also supra at ¶ 26.

       75.     This approach acknowledges that many Asian Americans of certain ethnic

backgrounds may have faced particular hardships or disadvantages compared to their peers. See

10/18 Tr. 60:9-61:7 (Fitzsimmons) (discussing, as an example, certain Hmong applicants and other

recent immigrants from Southeast Asia who came from “extremely impoverished rural

backgrounds”); U.S. Census Bureau, 2011-2015 American Community Survey Selected



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Population Tables on American Fact Finder, https://factfinder.census.gov/faces/nav/jsf/pages/

searchresults.xhtml?refresh=t (indicating 26% of Hmong Americans, 20% of Cambodian

Americans, 17% of Laotian Americans, and 15% of Vietnamese Americans live below the poverty

line); U.S. Dep’t of Educ., Nat’l Ctr. For Educ. Statistics, The Condition of Education 2018 82

(May 2018), https://nces.ed.gov/pubs2018/2018144.pdf (concluding that a quarter of Pacific

Islander students attend a high-poverty school, while only 8% of white students do so); CRDC

First Look, at 9 (finding that while more than one-third of Native Hawaiian or other Pacific

Islander students attend schools where more than half of the teachers were absent for more than

10 days, only 12% of white students do so).

       76.     Not a single Asian American applicant, student, or alumni testified at trial in

support of SFFA. In contrast, multiple Asian American Harvard students and alumni testified about

how they benefited from race-conscious admissions. Thang Diep “personally . . . believe[s] that

[he] benefited from affirmative action. . . [because] it allows [his] immigration history to be taken

into account. It allows . . . [his] racial identi[t]y . . . to really be portrayed.” 10/29 Tr. 158:5-11

(Diep). If race were not considered in admissions, Sally Chen “do[es]n’t think [she] would be [at

Harvard].” 10/29 Tr. 211:11 (Chen). Similarly, removing the consideration of race from Catherine

Ho’s admissions assessment would make her “story . . . not complete. The story can’t really even

be told” because “all of [her] experiences are informed by the fact that [she is] Vietnamese-

American.” 10/29 Tr. 89:14-90:3 (Ho).

       77.     Based on her experiences before, during, and after her time at Harvard in the 1980s,

Professor Margaret Chin believes that “race matters in everyday life” for Asian American

applicants and racial differences “have impacted [applicants’] lives up to the application.” 10/29

Tr. 48:1-8 (Chin). As a Harvard student and minority recruiter, Professor Chin was concerned



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about the underrepresentation of, discrimination against, and lack of support for Asian American

students at Harvard. 10/29 Tr. 42:7-11 (Chin). However, Professor Chin and her fellow students

at that time advocated for race consciousness, not race blindness, in Harvard’s admissions to

address these concerns, 10/29 Tr. 43:23-44:4, contrary to SFFA’s mischaracterizations of

Professor Chin’s student writings, see Pl.’s Proposed Findings of Fact and Conclusions of Law,

ECF No. 620, ¶¶ 94-95.

III.     PROPOSED CONCLUSIONS OF LAW

         78.      As the Supreme Court has repeatedly reaffirmed, colleges and universities may

lawfully pursue the educational benefits of diversity by considering race, in a narrowly tailored

manner, when selecting applicants for admission. See generally Regents of Univ. of Calif. v. Bakke,

438 U.S. 265 (1978); Gratz v. Bollinger, 539 U.S. 244 (2003); Grutter v. Bollinger, 539 U.S. 306

(2003); Fisher v. Univ. of Texas, 570 U.S. 297 (2013) (“Fisher I”); Fisher v. Univ. of Texas, 136

S. Ct. 2198 (2016) (“Fisher II”).

         79.      Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq., and its

implementing regulations, 34 C.F.R. Part 100, prohibit discrimination based on race, color, or

national origin by recipients of federal financial assistance, including many colleges and

universities.

         80.      To comply with Title VI and be constitutionally permissible, racial classifications

must pass strict scrutiny; that is, they must be narrowly tailored to achieve a compelling state

interest.6 Bakke, 438 U.S. at 299; Gratz, 539 U.S. at 270; Grutter, 539 U.S. at 326; Fisher I, 570



         6
          As noted by Harvard, the Supreme Court’s precedents concerning race-conscious admissions policies
involve public universities, which, as state actors, are subject to the Equal Protection Clause of the Fourteenth
Amendment. Harvard FOF/COL ¶ 294 n.2. As set forth in this brief, Amici Organizations maintain that Harvard’s
limited consideration of race to increase diversity would clearly satisfy strict scrutiny if that standard were applied to



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U.S. at 307-08 & 310; Fisher II, 136 S. Ct. at 2208.

         A.       Pursuant to Longstanding Supreme Court Precedent, Harvard Can Consider
                  Race, as One of Many Factors, in College Admissions to Foster the
                  Educational Benefits of Diversity.

         81.      “[A]cademic freedom,” which has “long been viewed as a special concern of the

First Amendment,” includes “[t]he freedom of a university to make its own judgments [about] the

selection of its student body.” Bakke, 438 U.S. at 312; see also Grutter, 539 U.S. at 329. In its own

judgment, Harvard has decided that the educational benefits of diversity are an important

component of a Harvard education. Harvard FOF/COL ¶¶ 2-13. Harvard’s “educational judgment

that such diversity is essential to its educational mission is one to which [courts] defer” pursuant

to the Supreme Court’s “tradition of giving a degree of deference to a university’s academic

decisions, within constitutionally prescribed limits.” Grutter, 539 U.S. at 328.

         82.      The Supreme Court “has long recognized that ‘education . . . is the very foundation

of good citizenship.’” Grutter, 539 U.S. at 331 (quoting Brown v. Bd. of Educ., 347 U.S. 483, 493

(1954)). Education is “pivotal to ‘sustaining our political and cultural heritage’ with a fundamental

role in maintaining the fabric of society.” Id. (quoting Plyler v. Doe, 457 U.S. 202, 221 (1982)).

         83.      “The atmosphere of ‘speculation, experiment and creation’—so essential to the

quality of higher education—is widely believed to be promoted by a diverse student body.” Bakke,




Harvard, a private university, in the analysis for Title VI, as opposed to federal constitutional, liability. However,
Amici Organizations reserve the right to argue on appeal that strict scrutiny is inapplicable here. By its plain
language, Title VI does not prohibit admissions policies that permit the limited consideration of race, as one factor
among many, in a holistic admission process designed to promote inclusion by mitigating the effects of racial
discrimination in K-12 educational opportunities and in standardized testing. See Title VI of the Civil Rights Act of
1964, 42 U.S.C. § 2000d (“No person in the United States shall, on the ground of race, color, or national origin, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination under any program or
activity receiving Federal financial assistance.”).


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438 U.S. at 312 (quoting Sweezy v. New Hampshire, 354 U.S. 234, 263 (1957) (concurring in

result)); accord Fisher I, 570 U.S. at 308.

        84.    “Just as growing up in a particular region or having particular professional

experiences is likely to affect an individual’s views, so too is one’s own, unique experience of

being a racial minority in a society, like our own, in which race unfortunately still matters.”

Grutter, 539 U.S. at 333.

        85.     Given this, “nothing less than the ‘nation’s future depends upon leaders trained

through wide exposure to the ideas and mores of students as diverse as this Nation of many

peoples.’” Grutter, 539 U.S. at 324 (quoting Bakke, 438 U.S. at 313). Thus, as recognized by the

Supreme Court, the educational benefits of diversity at Harvard “are substantial,” “important and

laudable.” Grutter, 539 U.S. at 330 (internal quotation marks and citations omitted).

        86.    The diversity of Harvard’s student body “promotes ‘cross-racial understanding,’

helps to break down racial stereotypes, and ‘enables [students] to better understand persons of

different races,’” thereby making for “livelier, more spirited, and simply more enlightening and

interesting,” classroom discussion. Id. (internal quotation marks and citations omitted); accord

Fisher I, 570 U.S. at 308; Fisher II, 136 S. Ct. at 2210; see also, supra, ¶¶ 9-19, 23, 25-26, 32;

Harvard FOF/COL ¶¶ 2-13.

        87.    In addition, Harvard’s “student body diversity promotes learning outcomes, and

‘better prepares students for an increasingly diverse workforce and society, and better prepares

them as professionals.’” Grutter, 539 U.S. at 330 (citations omitted); accord Fisher I, 570 U.S. at

308; Fisher II, 136 S. Ct. at 2210; see also, supra, ¶¶ 9-19, 23, 25-26, 32; Harvard FOF/COL ¶¶

2-13.




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       88.     Importantly, the educational benefits of diversity cannot be accomplished “with

only token numbers of minority students.” Grutter, 539 U.S. at 333; see Bakke, 438 U.S. at 323

(citing, with approval, Harvard’s admissions plan and acknowledging that “there is some

relationship between numbers and achieving the benefits to be derived from a diverse student body,

and between numbers and providing a reasonable environment for those students admitted.”); see

also Grutter, 539 U.S. at 336 (same). Concerns about tokenism are warranted given the

experiences of the students and alumni who testified at trial. See supra, ¶¶ 21-23, 51-52; Harvard

FOF/COL ¶¶ 14-18.

       89.     The pursuit of the educational benefits of diversity, therefore, is a compelling state

interest that justifies the narrowly tailored use of race in admissions. Bakke, 438 U.S. at 311-12;

Grutter, 539 U.S. at 325 (“[T]oday we endorse Justice Powell’s view that student body diversity

is a compelling state interest that can justify the use of race in university admissions.”); Fisher II,

136 S. Ct. at 2210; see also Fisher I, 570 U.S. at 308-09 (“In Grutter, the [Supreme] Court

reaffirmed [Justice Powell’s] conclusion [in Bakke] that obtaining the educational benefits of

‘student body diversity is a compelling state interest that can justify the use of race in university

admissions.’” (citation omitted)).

       B.      Harvard’s Limited Consideration of Race in Its Holistic Admissions Policy Is
               Narrowly Tailored.

       90.     As the Supreme Court has explained, “[t]o be narrowly tailored, a race-conscious

admissions program cannot use a quota system . . . . Instead, a university may consider race or

ethnicity only as a ‘plus’ in a particular applicant’s file, without insulat[ing] the individual from

comparison with all other candidates for the available seats . . . .” Id. at 334 (quoting Bakke, 438

U.S. at 315, 317) (internal quotation marks omitted).




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       91.     “In other words, an admissions program must be ‘flexible enough to consider all

pertinent elements of diversity in light of the particular qualifications of each applicant, and to

place them on the same footing for consideration, although not necessarily according them the

same weight.’” Id. (citation omitted).

             i. Harvard Conducts Individualized, Whole-Person Reviews of Each Student
                Applicant, in Which Race Is Merely One of Many Factors Considered.

       92.     The limited consideration of race in Harvard’s admissions process—which has

been cited with approval multiple times by the Supreme Court, see Bakke, 438 U.S. at 317; Grutter,

539 U.S. at 337—is part of a holistic review that examines each applicant individually on the basis

of multiple factors, of which race is but one. Harvard FOF/COL ¶¶ 316-18. Thus, race is not the

defining characteristic of a student’s application, but instead is merely a “plus factor” that allows

Harvard to be flexible enough to consider the applicant on multiple dimensions and compare all

applicants with each other. Id. ¶¶ 322-23.

       93.     Harvard’s holistic admissions process considers race as a positive “tip” when

evaluating applicants who are already highly competitive regardless of race. 10/16 Tr. 29:8-30:17

(Fitzsimmons); Harvard FOF/COL ¶¶ 60-61. This “tip” can apply to an individual, highly

competitive applicant of any race, including Asian Americans. See supra ¶¶ 66-67, 70-75.

       94.     For example, Harvard admitted an Asian American applicant whose “SAT score is

on the lower end of the Harvard average,” but who stood out because of his experiences

overcoming the adversity that he encountered due to his Vietnamese identity. 10/29 Tr. 146:19-

148:3 (Diep). Meanwhile, Harvard denied admission to an applicant who identified as white and

African American despite having perfect ACT and SAT verbal scores, but whose alumni interview

seemed flat because she appeared somewhat rehearsed and perhaps coached. 10/24 Tr. 234:6-8,




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236:11-22, 237:21-238:17 (Ray). Neither student was admitted or denied admission to Harvard

due primarily to their race. See supra ¶¶ 4-5.

       95.     Because Harvard considers race as merely one “plus” factor (or positive “tip”) in

an individualized, whole person review, because all applicants are compared against each other,

and because applicants are not admitted or denied based primarily on their race, Harvard’s race-

conscious admissions policy is sufficiently narrowly tailored to satisfy strict scrutiny.

               ii. None of the Race-Neutral Alternatives Proposed by Plaintiffs Would Achieve
                   Sufficient Levels of Diversity of Harvard Students, Particularly Black Students.

       96.     “Narrow tailoring also requires that the reviewing court verify that it is ‘necessary’

for a university to use race to achieve the educational benefits of diversity. . . . This involves a

careful judicial inquiry into whether a university could achieve sufficient diversity without using

racial classifications.” Fisher I, 570 U.S. at 312 (citing Bakke, 438 U.S. at 305).

       97.     “Narrow tailoring does not require exhaustion of every conceivable race-neutral

alternative. Nor does it require a university to choose between maintaining a reputation for

excellence or fulfilling a commitment to provide educational opportunities to members of all racial

groups.” Grutter, 539 U.S. at 339; see also Fisher I, 570 U.S. at 314 (noting that “strict scrutiny

must not be strict in theory, but fatal in fact” (quotation marks and citations omitted)).

       98.     “Narrow tailoring . . . does impose ‘on the university the ultimate burden of

demonstrating’ that ‘race-neutral alternatives’ that are both ‘available’ and ‘workable’ ‘do not

suffice.’” Fisher II, 136 S. Ct. at 2208 (2016) (citations omitted).

       99.     Harvard presently utilizes race-neutral practices to foster the racial diversity of its

students, including its UMRP, which engaged in significant efforts to recruit prospective students

of color, 10/24 Tr. 95:12-21, 98:15-99:12 (Banks); 211:1-4 (Ray), and the Harvard Financial Aid




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Initiative, which recruits low-income applicants and provides them with significant financial aid,

11/1 Tr. 200:10-25 (Faust); 10/24 Tr. 102:10-103:1, 103:21-104:3 (Banks), 148:24-149:5 (Kim).

       100.    Harvard has also studied other combinations of race-neutral admissions practices,

including those proposed by SFFA’s expert, but found that none of these race neutral alternatives

are workable due to a substantial reduction in either the racial diversity or its preferred academic

qualifications of admitted students. See supra, ¶¶ 41, 45-46; Harvard FOF/COL ¶¶ 203-55.

       101.    Thus, SFFA has not identified any available and workable race-neutral alternatives

that would produce the educational benefits of diversity. As in Grutter, the race-neutral alternatives

presented by SFFA’s expert “would require a dramatic sacrifice of diversity, the academic quality

of all admitted students, or both.” Grutter, 539 U.S. at 340.

       102.    “By virtue of our Nation’s struggle with racial inequality, [minority] students are

both likely to have experiences of particular importance to the [college’s or university’s] mission,”

including its pursuit of the educational benefits of diversity, “and less likely to be admitted in

meaningful numbers on criteria that ignore those experiences.” Grutter, 539 U.S. at 338.

       103.    For many applicants of color, their formative experiences, achievements,

community involvement, and other aspects of their identity are often inextricably intertwined with

race and overcoming racism. See Carbado & Harris, supra, at 1152-62 (illustrating why it is

impossible and unethical to disregard race); see also, supra, ¶¶ 42-44, 66-77.

       104.    Furthermore, federally-funded colleges and universities (as well as public colleges

and universities) should not be compelled, as a matter of law, to disregard race, while, at the same

time, acknowledging every other aspect of an applicant’s identity and life experiences. Such a

policy would disadvantage applicants who racially identify—namely, applicants of color—vis-à-




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vis other applicants, and thus single out Black, Latinx, Asian American, Native American, and

other applicants of color for disfavored treatment.

       105.    Harvard’s expert estimated that if all consideration of race were eliminated from

the current admissions process, the percentage of Black admitted students would drop from 14%

to 6%, and the percentage of admitted Latinx and “Other” underrepresented minority students

would drop from 14% to 9%. 10/31 Tr. 126:21-129:2 (Card). SFFA’s expert admits that this would

reduce the number of Black and Latinx students at Harvard College by roughly 1,100 students.

10/25 Tr. 131:14-132:14, 167:11-168:4 (Arcidiacono).

       106.    Even if race-neutral alternatives were incorporated into admissions, under SFFA’s

own analysis, the share of Black students in Harvard’s entering class would still decrease by

approximately one-third (14% to 10%). 10/22 Tr. 127:16-22 (Kahlenberg). The proportion of

Black students at Harvard would decrease more than any other racial group in each of SFFA’s four

proposed race-neutral alternatives. 10/22 Tr. 128:14-20 (Kahlenberg).

       107.    Such a significant reduction in Latinx and Black students, as demonstrated by both

Harvard and SFFA’s analyses, would be devastating for not only the Black and Latinx

communities at Harvard, but also for the entire student body due to the inability for students to

reap the educational benefits of diversity.

       108.    A significant decrease in admitted Black and/or Latinx students would: reduce their

voices and perspectives in student discussions and interactions both inside and outside the

classroom; increase the racial isolation of Black and Latinx students (which would also inhibit

their participation in cross-racial discussions and interactions); reduce the diversity within Black

and Latinx student communities; provide fewer students of color to support Harvard’s minority

recruitment efforts; hinder the ability of Black and Latinx student organizations from supporting



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their members and sponsoring cross-racial dialogues on campus; and increase the likelihood of

tokenism and stereotyping of the Black and Latinx students who are admitted to Harvard. See

supra, ¶¶ 47, 49-65.

       109.    Given that “universities . . . represent the training ground for a large number of our

Nation’s leaders, . . . it is necessary that the path to leadership be visibly open to talented and

qualified individuals of every race and ethnicity.” Grutter, 539 U.S. at 332. Access to higher

education “must be inclusive of talented and qualified individuals of every race and ethnicity, so

that all members of our heterogeneous society may participate in the educational institutions that

provide the training and education necessary to succeed in America.” Grutter, 539 U.S. at 332-33.

       110.    For access to educational opportunities to be truly equal, it is incumbent upon

colleges and universities like Harvard to acknowledge and consider applicants’ experiences

overcoming the racially discriminatory barriers to education that continue to pervade our nation’s

primary and secondary schools.

       111.    The lack of available and workable race-neutral alternatives that would achieve the

educational benefits of diversity establishes that Harvard’s race-conscious admissions process is

narrowly tailored.


Dated: January 9, 2019


                                              Respectfully submitted,

                                              /s/ Jin Hee Lee
                                              Sherrilyn Ifill*
                                              Janai Nelson*
                                              Samuel Spital*
                                              Jin Hee Lee*
                                              Rachel Kleinman*
                                              Cara McClellan*
                                              NAACP Legal Defense

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                              and Educational Fund, Inc.
                             40 Rector Street, 5th floor
                             New York, NY 10006
                             Tel: (212) 965-2200
                             Fax: (212) 226-7592

                             Michaele N. Turnage Young*
                             Jennifer A. Holmes*
                             NAACP Legal Defense
                              and Educational Fund, Inc.
                             700 14th Street NW, Suite 600
                             Washington, DC 20005
                             Tel: (202) 682-1300
                             Fax: (202) 682-1312

                             /s/ Kenneth N. Thayer
                             Kenneth N. Thayer, BBO #61029
                             thayer@sugarmanrogers.com
                             Kate R. Cook, BBO #650698
                             cook@sugarmanrogers.com
                             Sugarman, Rogers, Barshak & Cohen, P.C.
                             101 Merrimac Street (9th floor)
                             Boston, MA 02114-4737
                             (617) 227-3030

                             Counsel for Amici Curiae 21 Colorful
                             Crimson, Association of Black Harvard
                             Women, Coalition for a Diverse Harvard,
                             First Generation Harvard Alumni, Fuerza
                             Latina of Harvard, Harvard Asian
                             American Alumni Alliance, Harvard Asian
                             American Brotherhood, Harvard Black
                             Alumni Society, Harvard Islamic Society,
                             Harvard Japan Society, Harvard Korean
                             Association, Harvard Latino Alumni
                             Alliance, Harvard Minority Association of
                             Pre-Medical Students, Harvard Phillips
                             Brooks House Association, Harvard South
                             Asian Association, Harvard University
                             Muslim Alumni, Harvard Vietnamese
                             Association, Harvard-Radcliffe Asian
                             American Association, Harvard-Radcliffe
                             Asian American Women’s Association,
                             Harvard-Radcliffe Black Students
                             Association, Harvard-Radcliffe Chinese
                             Students Association, Kuumba Singers of

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                             Harvard College, Native American Alumni
                             of Harvard University, Native Americans
                             at Harvard College, and Task Force on
                             Asian and Pacific American Studies at
                             Harvard College.

                             *Admitted Pro Hac Vice




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 9th of January 2019, a copy of the above and foregoing

AMICI CURIAE HARVARD STUDENT AND ALUMNI ORGANIZATIONS’ PROPOSED

FINDINGS OF FACT AND CONCLUSIONS OF LAW was filed electronically with the Clerk

of Court using the CM/ECF system. Notice of this filing will be sent to all counsel of record by

operation of the court’s electronic filing system.


                                                            /s/ Jin Hee Lee
                                                            Jin Hee Lee*
                                                            NAACP Legal Defense &
                                                              Educational Fund, Inc.
                                                            40 Rector Street, 5th floor
                                                            New York, NY 10006
                                                            (212) 965-2200

                                                            *Admitted Pro Hac Vice




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